

S.P. v M.P. (2022 NY Slip Op 06414)





S.P. v M.P.


2022 NY Slip Op 06414


Decided on November 10, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 10, 2022

PRESENT: WHALEN, P.J., SMITH, PERADOTTO, AND WINSLOW, JJ. (Filed Nov. 10, 2022.) 


MOTION NO. (512/22) CA 21-00160.

[*1]S.P., PLAINTIFF-APPELLANT, 
vM.P., DEFENDANT-RESPONDENT.



MEMORANDUM AND ORDER
Motion for leave to renew denied.








